                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

United States of America,                    )
                            Plaintiff,       )
                                             )
             v.                              )     No. 2:12-cr-04044-FJG-2
                                             )
Beroldo Almazan,                             )
                            Defendant.       )


                        ACCEPTANCE OF PLEA OF GUILTY
                          AND ADJUDICATION OF GUILT

      Pursuant to the Report and Recommendation of United States Magistrate Judge

Matt J. Whitworth (Doc. #123 filed on June 25, 2013), to which no objection has been

filed, the plea of guilty to Counts One and Two of the Indictment which was filed on

June 27, 2012, is now accepted.           Defendant is adjudged guilty of such offense(s).

Sentencing will be set by subsequent order of the court.


                                                    /s/ Fernando J. Gaitan, Jr.
                                                   Fernando J. Gaitan, Jr.
                                                   Chief United States District Judge

Dated: July 16, 2013
Kansas City, Missouri




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